UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
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In Re:                                                           MOTION TO AVOID LIENS

RONIE L. VANHORN                                                 CASE NO.: 18-21124

                                    Debtor,
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      “PURSUANT TO FRBP 9014 AND THE STANDING ORDERS IMPLEMENTING
DEFAULT PROCEDURES IN ROCHESTER; IF YOU INTEND TO OPPOSE THE
MOTION, AT MINIMUM, YOU MUST SERVE: (1) THE MOVANT AND MOVANT’S
COUNSEL, AND (2) IF NOT THE MOVING PARTY (A) THE DEBTOR AND DEBTOR’S
COUNSEL; AND (B) IN A CHAPTER 11 CASE, THE CREDITOR’S COMMITTEE AND
ITS ATTORNEY, OR IF THERE IS NO COMMITTEE, THE 20 LARGEST CREDITORS;
AND (C) ANY TRUSTEE. IN ADDITION, YOU MUST FILE WITH THE CLERK OF THE
BANKRUPTCY COURT WRITTEN OPPOSITION TO THE MOTION NO LATER THAN
THREE (3) BUSINESS DAYS PRIOR TO THE RETURN DATE OF THE MOTION
NOTWITHSTANDING THE DECEMBER 1, 2009 AMENDMENTS TO FRBP 9006(a). IN
THE EVENT THAT NO WRITTEN OPPOSITION IS SERVED AND FILED, NO HEARING
ON THE MOTION WILL BE HELD ON THE RETURN DATE AND THE COURT WILL
CONSIDER THE MOTION UNOPPOSED.”

         PLEASE TAKE NOTICE, that upon the affirmation of counsel dated December 4, 2018,

Ronie L. Vanhorn, the debtor herein, by his attorneys, Legal Assistance of Western New York,

Inc., Mark H. Wattenberg of Counsel, will make a motion before the Court on December 20,

2018, at 10:00 a.m. at the US Bankruptcy Court, 100 State Street, Rochester, New York , for an

order pursuant to 11 U.S.C. §522(f), for the cancellation and avoidance of judicial liens, on the

ground that such liens impair Debtor’s homestead exemption.

Dated: December 4, 2018                     /s/ Mark H. Wattenberg
       Bath, New York               ______________________________________
                                    MARK H. WATTENBERG, ESQ.
                                    LEGAL ASSISTANCE OF WESTERN NEW YORK, INC.
                                    Attorney for Debtor Ronie Vanhorn
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    Case 2-18-21124-PRW, Doc 13, Filed 12/04/18, Entered 12/04/18 16:15:37,
                     Description: Main Document , Page 1 of 2
TO:   Michael Arnold, Chapter 7 Trustee
      PO Box 1307
      Fairport, NY 14450

      U.S. Trustee’s Office
      100 State Street, Room 6090
      Rochester, NY 14614

      Ronie L. Vanhorn, Debtor
      8 Spruce Street
      Canisteo, NY 14823

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  Case 2-18-21124-PRW, Doc 13, Filed 12/04/18, Entered 12/04/18 16:15:37,
                   Description: Main Document , Page 2 of 2
